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               1 MICHAEL W. BIEN – Cal. Bar No. 096891
                 VAN SWEARINGEN – Cal. Bar No. 259809
               2 ALEXANDER GOURSE – Cal. Bar No. 321631
                 AMY XU – Cal. Bar No. 330707
               3 ROSEN BIEN GALVAN & GRUNFELD LLP
                 101 Mission Street, Sixth Floor
               4 San Francisco, California 94105-1738
                 Telephone: (415) 433-6830
               5 Facsimile: (415) 433-7104
                 Email:       mbien@rbgg.com
               6              vswearingen@rbgg.com
                              agourse@rbgg.com
               7              axu@rbgg.com
               8 KELIANG (CLAY) ZHU – Cal. Bar No. 305509
                 DEHENG LAW OFFICES PC
               9 7901 Stoneridge Drive #208
                 Pleasanton, California 94588
              10 Telephone: (925) 399-5856
                 Facsimile: (925) 397-1976
              11 Email:       czhu@dehengsv.com
              12 ANGUS F. NI – Wash. Bar No. 53828*
                 AFN LAW PLLC
              13 502 Second Avenue, Suite 1400
                 Seattle, Washington 98104
              14 Telephone: (773) 543-3223
                 Email:       angus@afnlegal.com
              15 * Pro Hac Vice application forthcoming
              16 Attorneys for Plaintiffs
              17
              18                            UNITED STATES DISTRICT COURT
              19         NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
              20 U.S. WECHAT USERS ALLIANCE,                   Case No. 3:20-cv-05910-LB
                 CHIHUO INC., BRENT COULTER,
              21 FANGYI DUAN, JINNENG BAO,                     DECLARATION OF XIAO ZHANG IN
                 ELAINE PENG, and XIAO ZHANG,                  SUPPORT OF PLAINTIFFS’ MOTION
              22                                               FOR PRELIMINARY INJUNCTION
                           Plaintiffs,
              23       v.                                      Judge: Hon. Laurel Beeler
                                                               Date: September 17, 2020
              24 DONALD J. TRUMP, in his official              Time: 9:30 a.m.
                 capacity as President of the United States,   Crtrm.: Remote
              25 and WILBUR ROSS, in his official
                 capacity as Secretary of Commerce,            Trial Date:       None Set
              26
                               Defendants.
              27
              28

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               1 I, Xiao Zhang, declare as follows:
               2         1.     I am a Plaintiff in the above-captioned action (the “Action”). I have personal
               3 knowledge of the matters stated herein and if called as a witness I would and could testify
               4 competently to them.
               5         2.     I was assisted in preparing this declaration in English. I primarily write and
               6 speak in Chinese, and if called as a witness I would testify in Chinese.
               7         3.     I am a Chinese citizen residing in Sunnyvale, California. I have a visa that
               8 permits me to live and work in the United States. I have lived in the United States since
               9 2011.
              10         4.     I work as a Geomatics Specialist at Shell, a Fortune 500 oil and gas company.
              11         5.     In 2019 I founded a charity program, Hita Education Foundation (the
              12 “Foundation”), to benefit disadvantaged students attending high school in my hometown in
              13 China. The Foundation is incorporated in the State of Texas as a non-profit organization.
              14         6.     The Hita Foundation provides financial aid to students from poor families. It
              15 is currently funding seven indigent students’ high school educations with monthly
              16 donations of 300 yuan (approximately US$43) to each for meals and school supplies.
              17         7.     I first downloaded and used WeChat around 2011 when it was launched.
              18 Since then it has become the exclusive means for me to communicate with Chinese family
              19 members and Chinese-speaking friends in both China and in the United States. I also use
              20 WeChat for Foundation-related group chats, and for chatting with colleagues at Shell who
              21 are also WeChat users. Further, I receive news updates and interact with my WeChat
              22 network through WeChat’s numerous social-media functions.
              23         8.     I also use WeChat to further my Foundation’s mission. Since I am based in
              24 the United States, I use WeChat to communicate with teachers at the high school where the
              25 Foundation sponsors students.
              26         9.     WeChat is my primary means of receiving updates about the students the
              27 Foundation is helping.
              28         10.    The Foundation also uses WeChat as the exclusive means of issuing monthly

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               1 grants to students. Through WeChat Pay (WeChat’s digital payment function), I am able
               2 to transfer the charitable funds I raise here to the students’ bank accounts with just a few
               3 clicks.
               4           11.   In fact, our fundraising efforts also depend on WeChat as we fundraise and
               5 receive payments through WeChat Pay.
               6           12.   I also actively promote my Foundation through WeChat. In particular, we
               7 share social media accounts about our charitable work with our WeChat network so that
               8 they may share it with their networks, and so on.
               9           13.   I learned about the Executive Order on WeChat from contacts sharing the
              10 news to me, from discussions in group chats. I also read the Executive Order itself, read
              11 news articles, and discussed it with others to try to understand its scope. So far I have not
              12 fully understood, and no one can give me a definitive answer, on the meaning of the words
              13 “transaction that is related to WeChat”.
              14           14.   I understand that the Executive Order will take effect forty-five days after its
              15 issuance, and that violation of the Executive Order may subject one to administrative, civil
              16 or criminal liabilities.
              17           15.   I am not certain whether WeChat can still be used in the United States after
              18 the Executive Order takes effect, or that if WeChat can be used, what uses will cause me to
              19 violate the Executive Order and what uses will not. For example, I don’t know if I will be
              20 violating the Executive Order if I simply log onto WeChat, send a message to my teachers,
              21 make a voice or video call with my family, or make a transfer of charitable funds to the
              22 indigent students we are trying to help. The possibility of being penalized for using
              23 WeChat leaves me in a state of constant fear that I may be violating the law simply by
              24 helping poor students go to school.
              25           16.   Since the Executive Order was issued, I keep worrying that I will no longer
              26 be able to run my Foundation to support students from poor families. The daily operation
              27 of my Foundation largely depends on the free, continuous and uninterrupted access to
              28 WeChat in the United States. Without WeChat, our ability to raise awareness, raise funds,

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               1 and help our students will be severely compromised. The Executive Order has raised
               2 concerns among our regular donors that they will be banned from donating to our
               3 Foundation on WeChat.
               4         17.      If it was not for WeChat, I do not even think my Foundation could have been
               5 founded in the first place.
               6         18.      My ability to maintain my social ties, and to communicate with other
               7 Chinese speaking people in China and in the United States will also be adversely affected.
               8         19.      Since WeChat is the most popular social media platform among Chinese
               9 speakers in the U.S., it is practically impossible for me and my Foundation to locate an
              10 alternative platform that has the same or substantially similar reach. The possibility of
              11 losing contact with my family, friends, donors, and social network generally has caused me
              12 great anxiety.
              13         20.      Faced with the threats of losing access to WeChat posed by the Executive
              14 Order, we have been forced to expend our limited time, energy and resources to explore
              15 other U.S. based social media platforms. However, we have not found a good alternative.
              16 The thought of losing the Foundation I built because of the Executive Order, and the
              17 possibility that I may be found in violation of the Executive Order and subject to criminal
              18 or civil penalties simply for using WeChat, has also caused me great anxiety.
              19         21.      We had to settle for backing up our WeChat data as a temporary solution.
              20 However, there is no sophisticated backup solution and I had to manually type out contact
              21 information of more than 500 WeChat contacts, search for and identify important data to
              22 be transferred, such as profiles of the students we fund, and manually copy and paste them.
              23         22.      To ensure the continuous existence of the Foundation, we also had to build a
              24 new website to receive donations. The website is still being prepared and has already
              25 caused us hundreds of dollars in fees and dozens of hours and labor. We anticipate more
              26 money, time and labor will be incurred for the website to launch.
              27         23.      Despite the mitigation measures we were forced to take, it is our sincere
              28 belief that the harm caused by the Executive Order, if it is allowed to stand, cannot be fully

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               1 redressed. None of the alternatives that we are considering can replace the functionality
               2 and ease of WeChat or the ability to communicate and receive support from a like-minded
               3 community bound by our language and culture.
               4         I declare under penalty of perjury under the laws of the United States of America
               5 that the foregoing is true and correct, and that this declaration is executed at
               6        �       California thi� day of August, 2020.
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